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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATIONAL VIATICAL, INC. and )
JAMES TORCHIA, )
)
Plaintiffs, )
) CIVIL ACTION

v. )

) CASE NO. 1:11-CV-01226-RHB
UNIVERSAL SETTLEMENTS )
INTERNATIONAL, INC., )
)
Defendant. )

DECLARATION OF JASON W. GRAHAM IN SUPPORT OF PLAINTIFES’
MOTION TO STRIKE COUNT II OF US’?S COUNTERCLAIM

I, JASON W. GRAHAM, declare:

1. I am a licensed attorney in Georgia and am one of the two founding
partners of Graham & Penman, LLP. I am the attorney of record for Plaintiffs National
Viatical, Inc. (“NVI’) and James Torchia in the present action. I make this declaration in
support of NVI and Torchia’s Motion to Strike Count II] of Defendant USI’s
Counterclaim. The matters stated herein are known to me of my own personal
knowledge. I could and would testify hereto in a court of law if called upon to do so.

2. On January 27, 2011, NVI and Torchia overnighted a $100,000 check with
the notation “USI Settlement” to Graham & Penman, LLP. A true and correct copy of

the check is attached hereto as Exhibit A.
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3. Graham & Penman, LLP deposited NVI’s $100,000 check into its IOLTA
account on January 28, 2011. A true and correct copy of Graham & Penman, LLP’s
IOLTA account summary for January 28, 2011 is attached hereto as Exhibit B. A true
and correct copy of Graham & Penman, LLP’s administrative record of IOLTA deposits
on January 28, 2011 is attached hereto as Exhibit C.

4, Upon deposit of NVI’s $100,000 check, I immediately sent USI’s counsel
an email stating “I have the $100K in my trust account.” Mr. Franzinger replied to this
email stating “Good.” A true and correct copy of my January 28, 2011 email to USI’s
counsel including Mr, Franzinger’s reply is attached hereto as Exhibit D.

5. NVI, Torchia and myself negotiated the settlement agreement with USI in
good faith with intent to perform.

6. Neither myself nor NVI and Torchia would have executed and notified
opposing counsel of the transfer of $100,000 if we did not intend to perform our
obligations under the settlement agreement.

7. After the settlement conference at which USI alleges that I fraudulently
conspired with my clients to enter into a settlement with no intent to perform, USI
disclosed virtually every detail that anyone would care to know about the settlement
agreement. USI’s breach was substantial and justifies the excusal of NVI and Torchia’s
performance under Michigan law. See, e.g., Michaels v. Amway Corp, 206 Mich. App.

644, 650 (1994), quoting Flamm v. Scherer, 40 Mich. App. 1, 8-9 (1972) (“one who first

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breaches a contract cannot maintain an action against the other contracting party for his
subsequent breach or failure to perform.”).

8. NVI, Torchia and myself learned of USI’s prior breach of the settlement
agreement on February 1, 2011.

9, I declare under penalty of perjury under the laws of the United States of

America that the foregoing declaration is true and correct to the best of my knowledge.

Executed this [ ( day of January, 2012, at Atlanta, Georgia.

Gor Jb ~_—

/’ JASON W. GRAHAM

